  OAO 245E        (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                  Sheet 1



                                          UNITED STATES DISTRICT COURT
                               Northern                                  District of                                     California

            UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                                (For Organizational Defendants)

           United Microelectronics Corporation                                     CASE NUMBER: CR 18-465 MMC
                                                                                    Leslie Caldwell
                                                                                   Defendant Organization’s Attorney
  THE DEFENDANT ORGANIZATION:
  ✔ pleaded guilty to count(s) Count One of the Superseding Information
  G
  G pleaded nolo contendere to count(s)
       which was accepted by the court.
  G    was found guilty on count(s)
       after a plea of not guilty.
  The organizational defendant is adjudicated guilty of these offenses:


  Title & Section                 Nature of Offense                                                                    Offense Ended               Count
18 U.S.C. § 1832(a)(3)             Theft of Trade Secrets                                                               12/31/2018                 One




          The defendant organization is sentenced as provided in pages 2 through                        7           of this judgment.


  G    The defendant organization has been found not guilty on count(s)

  G    Count(s)                                                G is       G are     dismissed on the motion of the United States.

            It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
  of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
  are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
  changes in economic circumstances.

  Defendant Organization’s
  Federal Employer I.D. No.:    N/A                                                 10/28/2020
                                                                                   Date of Imposition of Judgment
  Defendant Organization’s Principal Business Address:

   United Microelectronics Corporation
   No.3, Li-Hsin 2nd Road                                                          Signature of Judge
   Hsinchu Science Park
   Hsinchu, Taiwan, ROC
                                                                                    Maxine M. Chesney                              U.S. District Judge
                                                                                   Name of Judge                                  Title of Judge


                                                                                    10/30/2020
                                                                                   Date
  Defendant Organization’s Mailing Address:

   Same as business address
AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2 — Probation

                                                                                                   Judgment—Page      2     of        7
DEFENDANT ORGANIZATION: United Microelectronics Corporation
CASE NUMBER: CR 18-465 MMC
                                                                  PROBATION
The defendant organization is hereby sentenced to probation for a term of :
 Three years.



The defendant organization shall not commit another federal, state or local crime.




              If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization
     pay in accordance with the Schedule of Payments sheet of this judgment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).
 See attached additional conditions.




                                     STANDARD CONDITIONS OF SUPERVISION
  1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
     as the organizations’s representative and to be the primary contact with the probation officer;
  2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
     officer;
  3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
  4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
  5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
     litigation, or administrative proceeding against the organization;
  6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
     judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the
     defendant’s successors or assignees; and
  7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
  AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
            Sheet 2A — Probation

                                                                                        Judgment—Page    3    of      7
  DEFENDANT ORGANIZATION: United Microelectronics Corporation
  CASE NUMBER: CR 18-465 MMC

                                              ADDITIONAL PROBATION TERMS
1) The defendant will cooperate with the United States pursuant to the provisions of Paragraph 9 of the Plea Agreement;
and shall conduct all of its operations in accordance with the laws of the United States and will make payments of all
monetary amounts. UMC agrees that the cooperation provisions of Paragraph 9 of the Plea Agreement shall be
incorporated in the terms of its probation.

The parties agreed restitution will not be included in the criminal sentence pursuant to 18 USC 3663(c)(3)(B) and will be
determined in the pending civil case.
AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3 — Criminal Monetary Penalties

                                                                                                            Judgment — Page        4    of       7
DEFENDANT ORGANIZATION: United Microelectronics Corporation
CASE NUMBER: CR 18-465 MMC
                                               CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                      Assessment                                              Fine                                   Restitution
TOTALS            $ 400.00                                              $ 60,000,000.00                          $


G   The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
    below.

    If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                                         Total Loss*                   Restitution Ordered        Priority or Percentage




TOTALS                                                                $                        0.00 $                   0.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

     G    the interest requirement is waived for the            G   fine      G      restitution.

     G    the interest requirement for the         G     fine       G      restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 — Schedule of Payments

                                                                                                          Judgment — Page    5      of       7
DEFENDANT ORGANIZATION: United Microelectronics Corporation
CASE NUMBER: CR 18-465 MMC

                                                        SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ✔
     G    Lump sum payment of $            60,000,400.00           due immediately, balance due

          G     not later than                                       , or
          G     in accordance with       G     C or     G     D below; or

B    G    Payment to begin immediately (may be combined with                    G C or   G D below); or
C    G    Payment in                     (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Special instructions regarding the payment of criminal monetary penalties:




All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant organization shall pay the cost of prosecution.

G    The defendant organization shall pay the following court cost(s):

G    The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
